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     Zachariah Dobler, Petitioner  v.  Executive Director of the CDOC and Warden of Buena Vista Correctional Facility Respondents No. 24SC112Supreme Court of Colorado, En BancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1388
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    